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                                                        U.S. Department of Justice


                                                        Joshua S. Levy
                                                        United States Attorney
                                                        District of Massachusetts



Main Reception: (617) 748-3100                          John Joseph Moakley United States Courthouse
                                                        1 Courthouse Way
                                                        Suite 9200
                                                        Boston, Massachusetts 02210


                                                       December 6, 2024

Brendan Kelley
Assistant Federal Public Defender
Boston Federal Defender Office
51 Sleeper St, 5th Floor
Boston, MA 02210

       Re: United States v. Cordell Miller
             Criminal No. 23-cr-10309-WGY

Dear Attorney Kelley:

        The United States Attorney for the District of Massachusetts (the "U.S. Attorney55) and your
client, Cordell Miller ("Defendant55), agree as follows, pursuant to Federal Rule of Criminal
Procedure ("Rule") ll(c)(l)(B):

       1.      Change of Plea


       No later than January 17, 2025, Defendant will plead guilty to Counts One and Four of the
Indictment: one count of Trafficking in Firearms, in violation of 18 U.S.C. § 933(a)(l); and one
count of Aiding and Abetting the Distribution of and Possession with Intent to Distribute Cocaine,
in violation of 21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2. Defendant admits that Defendant
committed the crimes specified in these counts and is in fact guilty of each one.

       2.      Penalties

       Defendant faces the following maximum penalties:

            • for Count One: incarceration for up to 15 years; supervised release for up to three
               years; a fine of up to $250,000; forfeiture; restitution; and a mandatory special
               assessment of $100; and
            • for Count Four: incarceration for up to 20 years; supervised release for three years
               up to life; a fine of up to $2 million; forfeiture; restitution; and a mandatory special
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               assessment of $100.


        Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant's immigration status. Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant's plea results in being automatically
removed from the United States.


       3. Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant's total "offense
level55 under the Guidelines is 23:


                                     Count One (Group One)

               a) Defendant's base offense level is 20 (USSG § 2K2.1(a)(4));

               b) Defendant's offense level is increased by 2, because the offense involved three
                  to seven firearms (USSG § 2K2.1(b)(l)(A));

               c) Defendant's offense level is increased by 4, because the offense involves the
                  trafficking in firearms (USSG § 2K2.1(b)(5)(B)); and

                                     Count Four (Group Two)

               a) Defendant's base offense level is 14 (USSG § 2D1 .l(a)(5));

                                            Groupins


        The parties agree that no additional levels are added under USSG § 3D1.4 because the
offense level for Group Two is more than eight levels lower than the offense level for Group One.
USSG§ 3D 1.4(0.

      Defendant agrees with the U.S. Attorney's guidelines as calculated above except that
Defendant reserves the right to argue that USSG § 3B1.2(b) applies.

                                  Acceptance of Responsibility

       Defendant's offense level is decreased by 3, because Defendant has accepted responsibility
for Defendant's crimes (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw Defendant's
guilty plea if Defendant disagrees with how the Court calculates the Guidelines or with the
sentence the Court imposes.


       Defendant also understands that the government will object to any reduction in Defendant's
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sentence based on acceptance of responsibility if: (a) at sentencing, Defendant (directly or through
counsel) indicates that Defendant does not fully accept responsibility for having engaged in the
conduct underlying each of the elements of the crimes to which Defendant is pleading guilty; or
(b) by the time of sentencing. Defendant has committed a new federal or state offense, or has in
any way obstructed justice.


        If, after signing this Agreement, Defendant's criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

        4. Sentence Recommendation


        The U.S. Attorney agrees to recommend the following sentence to the Court:


                a) incarceration at the low end of the Guidelines sentencing range as calculated by
                    the parties in Paragraph 3;

                b) a fine within the Guidelines sentencing range as calculated by the Court at
                    sentencing, excluding departures, unless the Court finds that Defendant is not
                    able, and is not likely to become able, to pay a fine;

                c) 36 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                   of the Court by the date of sentencing;

               e) restitution in an amount to be determined at sentencing; and

               f) forfeiture as set forth in Paragraph 6.

        Defendant agrees that all criminal monetary penalties, including special assessment,
restitution, forfeiture, and/or fine imposed shall be due and payable immediately, and further
agrees that any Court-ordered repayment schedule does not preclude further enforcement or
collection by the United States.

       5. Waiver of Appellate Riphts and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant's conviction and sentence on "direct
appeal.55 This means that Defendant has the right to ask a higher court (the "appeals court95) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant's conviction or sentence. Also, in some instances. Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
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and that Defendant's conviction or sentence should be overturned.


        Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                a) Defendant will not challenge Defendant's conviction on direct appeal or in any
                    other proceeding, including in a separate civil lawsuit; and

                b) Defendant will not challenge Defendant's sentence, including any court orders
                    related to forfeiture, restitution, fines or supervised release, on direct appeal or
                    in any other proceeding, including in a separate civil lawsuit.

         Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant's conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant's conviction and sentence, regardless
of whether Defendant later changes Defendant's mind or fir^r^^^^^^^^^^ that would have
led Defendant not to agree to give up these rights in the first place.

        Defendant is agreeing to give up these rights at least partly in exchange for concessions the
U.S. Attorney is making in this Agreement.


        The parties agree that, despite giving up these rights. Defendant keeps the right to later
claim that Defendant's lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant's conviction or sentence overturned.


        6. Forfeiture


       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.


        7. Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant's criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

        8. Breach of Plea Agreement


       Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant's pre-trial release or commits any crime following
Defendant's execution of this Plea Agreement, Defendant cannot rely upon such conduct to
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withdraw Defendant's guilty plea. Defendant's conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney's commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant's statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant's case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.


        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct. Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

        9. Who is Bound by Plea Agreement

      This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.


        10. Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.
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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Luke A. Goldworm.

                                                    Sincerely,


                                                    JOSHUA S. LEVY
                                                    United States Attorney


                                            By:
                                                     ANNE^ARUTI
                                                     Chief, Major Crimes Unit
                                                     MARKGRADY
                                                     Deputy ^hief, Major Crimes Unit




                                                     LUKEA.GOLDWORM
                                                     Assistant U.S. Attorney
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                       ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney's Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney's Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

       I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. I have discussed the Sentencing Guidelines with my lawyer, and I understand the
sentencing ranges that may apply.

       I am satisfied with the legal representation my lawyer has given me, and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.




                                                  Cordell Miller
                                                  Defendant

                                                  Date: Q//36/!>aZS
                                                              ^—T
       I certify that Cordell Miller has read this Agreement and that we have discussed what it
means. I believe Cordell Miller understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other offers
regarding a change of plea in this case.




                                                  Brendan Kelley
                                                  Attorney for Defendant

                                                  Date: 1
